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                EXHIBIT 32
To:        Bennett, Jeff[Jeff.Bennett@cardinalhealth.com]; Hartman, Mark[Mark.Hartman@cardinalhealth.com]; Mone,
               Case: 1:17-md-02804-DAP
Michael[Michael.Mone@cardinalhealth.com];       Doc
                                             Fong,    #: 2373-7 Filed: 08/14/19 2 ofMorford,
                                                    lvan[lvan.Fong@cardinalhealth.com]; 10. PageID #: 387828
Craig[craig.morford@cardinalhealth.com]
From:      Falk, Steve
Sent:      Wed 5/14/2008 8:01 :07 PM
Subject: FW: "now and then" document


 Fyi


 From: Avergun, Jodi [mailto:Jodi.Avergun@cwt.com]
 Sent: Wednesday, May 14, 2008 1:55 PM
 To: Cote, Larry P.
 Cc: jcarney@bakerlaw.com; Goldsand, Corey; Falk, Steve
 Subject: "now and then" document

 Larry, as we discussed this morning, I am attaching a pdf version of the now and then document we reviewed with you yesterday.
 This version is marked "FOIA confidential treatment             by Cardinal" and clarifies the question you raised about customers
 whose orders approach 75% of their threshold. We'd appreciate it if you would replace th e version in your binder with this document
 as corrected. Thanks so much.



 From: Jay, Joseph
 Sent: Wednesday, May 14, 2008 12:14 PM
 To: Avergun, Jodi
 Subject:




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                                                        CARDINAL HEALTH, INC.




        Personnel
        Resources                   •      QRA VP with anti-diversion and             •   New Chief Compliance Officer with
                                           other regulatory responsibilities (Steve       significant government leadership
                                           Reardon)                                       experience reporting directly to the
                                                                                          Chairman & CEO and the Audit
                                    •      One QRA director with primary                  Committee .
                                           responsibility for Internet pharmacy
                                           investigations (Eric Brantley)             •   10 new positions within QRA
                                                                                          dedicated to anti-diversion, including:
                                    •      One compliance employee at each
                                           division reporting to local DC                  •       SVP for Supply Chain
                                           management in business line, many of                   Integrity and Regulatory
                                           whom had multiple non-compliance                       Operations (Mark Hartman)
                                           responsi bili ti es.                                   focused on anti-diversion,
                                                                                                  reporting directly to the Chief
                                                                                                  Compliance Officer and CEO
                                                                                                  for supply chain business.

                                                                                           •       VP     for     Anti-Diversion
                                                                                                  exclusively focused on anti-
                                                                                                  diversion (Michael Mone,
                                                                                                  former     state board      of
                                                                                                  pharmacy executive and
                                                                                                  prosecutor).

                                                                                           •      VP of Quality and Regulatory
                                                                                                  Affairs        focused    on
                                                                                                  overseemg DC level anti-
                                                                                                  diversion and regulatory
                                                                                                  compliance efforts (Steve
                                                                                                  Reardon) .
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                                                        CARDINAL HEALTH, INC.



                                                                                           •     Two            corporate-based
                                                                                                 experienced pharmacists to
                                                                                                 conduct          anti-diversion
                                                                                                 investigations        reporting
                                                                                                 directly to Michael Mone.

                                                                                           •     Two field based experienced
                                                                                                 former health care or law
                                                                                                 enforcement investigators to
                                                                                                 conduct         anti-diversion
                                                                                                 investigations, (with two
                                                                                                 additional positions to be
                                                                                                 filled) .

                                                                                  •     Each DC has a dedicated professional
                                                                                        compliance manager (24 in total) who
                                                                                        reports through a regional director to
                                                                                        Steve Reardon, VP QRA, i.e., no
                                                                                        reporting of field compliance to DC
                                                                                        heads.


        Suspicious Order
        1\!Ionitoring               •      DC staff to identify and report        •     Electronic system to identify, block,
        System/KYC                         potentially susp1c10us or excessive          and report sales of controlled
                                           purchases of controlled substances           substances to retail independent
                                           after shipment.                              customers based upon a pre-determined
                                                                                        monthly threshold for 102 controlled
                                    •      Ingredient limit report sent to DEA          substance drug families .
                                           monthly by each division.

                                    •      Dosage limits charts.
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                                                       CARDINAL HEALTH, INC.




                                    •      Investigations by a QRA director (Eric   •   System blocks orders of controlled
                                           Brantley) began in November 2005.            substances which are in excess of the
                                                                                        pre-determined    monthly      threshold
                                    •      KYC focused on credit-worthiness             pending analysis by anti-diversion staff
                                           prior to November 2005.
                                                                                    •   System-generated email notification to
                                                                                        sales person for blocked order alerting
                                                                                        them that their customer has hit a
                                                                                        threshold. Sales representatives are
                                                                                        required to contact customer, initiate
                                                                                        inquiry into propriety of order and,
                                                                                        where     appropriate,    conduct due
                                                                                        diligence as to overall nature of
                                                                                        customer's business. Also, the system
                                                                                        generates a report for internal QRA use
                                                                                        only, of customers whose orders are at
                                                                                        75% of their threshold, so that QRA
                                                                                        personnel can begin analysis of
                                                                                        account.

                                                                                    •   System-generated              mandatory
                                                                                        questionnaire    to    customer      with
                                                                                        threshold event asking for justification.

                                                                                    •   These orders are analyzed by
                                                                                        professional     anti-diversion   staff
                                                                                        members with pharmacy, prosecutor,
                                                                                        and/ or law enforcement experience.




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                                                       CARDINAL HEALTH, INC.



                                                                                •     KYC due diligence, pharmacy site
                                                                                      visits, and other investigative processes
                                                                                      may be employed to determine whether
                                                                                      quantities ordered are legitimate.

                                                                                      •       Since January, 3,332 threshold
                                                                                              events occurred and were
                                                                                              analyzed.

                                                                                •     Orders which are identified as
                                                                                      potentially suspicious by anti-diversion
                                                                                      staff are reported to DEA

                                                                                          •    Since January, 34 susp1c1ous
                                                                                               orders have been reported to
                                                                                               DEA (Reminder: Cardinal
                                                                                               willing and able to report
                                                                                               orders earlier in process if
                                                                                               desired by DEA.)

                                                                                •     All customers with threshold events
                                                                                      required to complete a non-diversion
                                                                                      agreement.

                                                                                •     KYC for all new retail independent
                                                                                      customers are assessed by the anti-
                                                                                      diversion staff




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                                                       CARDINAL HEALTH, INC.



                                                                                         •      Cardinal has declined to open
                                                                                                customers because they pose
                                                                                                an unreasonable risk of
                                                                                                diversion at both the sales and
                                                                                                QRA level. (7 declined by
                                                                                                corporate;      an   additional
                                                                                                number were declined by the
                                                                                                field, but this number had not
                                                                                                been tracked).

                                                                                    •   Mandatory twice monthly ride-alongs
                                                                                        by compliance personnel with sales
                                                                                        people during sales visits.

                                                                                    •   Mandatory sales force attention to
                                                                                        compliance issues during sales visits.

                                                                                    •   Mandatory quarterly in-person visits to
                                                                                        each retail independent customer to
                                                                                        assess compliance.

                                                                                    •   Amnesty program for sales force for
                                                                                        identifying and reporting suspicious
                                                                                        customers.


        Organizational
        Structure                   •      Diffuse compliance reporting structure   •   Optimized compliance-centric structure
                                           - field-based anti-diversion personnel       with all anti-diversion personnel
                                           reported to business heads.                  reporting up to the Chief Compliance
                                                                                        Officer.


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                                                       CARDINAL HEALTH, INC.



                                                                                  •   Elimination of     dual    ethics   and
                                                                                      compliance role.

                                                                                  •   Elimination of influence of business
                                                                                      reporting line.

                                                                                  •   Regulatory counsel report to chief
                                                                                      counsel.

                                                                                  •   No mores
        Training
                                    •      Live trainings at six locations        •   Full day training at headquarters in
                                           throughout the country during the          February 2008 conducted by internal
                                           spring and summer of 2006. Focused         and external anti-diversion experts.
                                           on secondary market and Internet           170 employees, including operations,
                                           pharmacy diversion                         sales, and QRA management were
                                                                                      flown in from across the country and
                                    •      Development and presentation of two        trained .
                                           mandatory computer-based trainings
                                           in August and December 2007 for all    •   Two-day, sixteen-hour course in
                                           sales personnel and field operations       February 2008 to 'train the trainer' on
                                           managers. Focused on Internet              delivering anti-diversion training to
                                           Pharmacy diversion.                        field staff

                                                                                  •   In March 2008, 1,479 employees in
                                                                                      sales and DC operations completed a
                                                                                      four-hour live anti-diversion training.
                                                                                      90 separate classes were conducted.




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                                                       CARDINAL HEALTH, INC.



                                                                                   •   In March 2008, 228 customer service
                                                                                       center employees who support retail
                                                                                       independent customers received a Jive
                                                                                       two-hour anti-diversion training. 40
                                                                                       separate classes were conducted.

                                                                                   •   Targeted training in May 2008 of PBCs
                                                                                       with highest volume customers.

                                                                                   •   Online assessment and certification
                                                                                       process will be employed to reinforce
                                                                                       lessons from March 2008 training.

                                                                                   •   Next steps include additional training at
                                                                                       upcoming summer sales conferences,
                                                                                       development of additional training
                                                                                       programs and on line refreshers.
        Tone at Top
                                    •      Few if any directives from leadership   •   Repeated directives from Chairman and
                                           of company regarding controlled-            CEO, Kerry Clark, emphasizing the
                                           substance anti-diversion                    need to prevent diversion.

                                                                                   •   Bi-weekly meetings conducted by SVP
                                                                                       for Supply Chain Integrity to discuss
                                                                                       anti-diversion, involving sales, QRA
                                                                                       and operations




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                                                        CARDINAL HEALTH, INC.



                                                                                       •   Internal and External Medication Safety
                                                                                           Website emphasizing importance of
                                                                                           diversion issue, linking to resources,
                                                                                           explaining risks and responsibility. To
                                                                                           be available on Cardinal internal and
                                                                                           external websites

                                                                                       •   Reinforcement       of    corporate-wide
                                                                                           responsibility for preventing diversion

                                                                                       •   Creation and distribution of wallet
                                                                                           cards for sales force highlighting anti-
                                                                                           diversion alert signals.    Sales force
                                                                                           required to carry.




        Retail Business
        Conference                  •      Annual business conference held in          •   Effective immediately, no controlled
                                           mid-late    summer         for     retail       substances will be offered for sale at
                                           independent pharnrncies during which            the retail business conference.
                                           customers were offered discounts on
                                           pharmaceutical purchases (including
                                           controlled substances) often resulting
                                           in large or bulk orders purchased and
                                           shipped in late summer/early fall.




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